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                  IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF MARYLAND


DOROTHY JACKSON

               Plaintiff,

     v.                                           Case No. 8:19-cv-1009-TDC

JTM CAPITAL MANAGEMENT, LLC., et al

               Defendants.

                             JOINT REPORT ON DISCOVERY

      I.     WHETHER DISCOVERY IS COMPLETE

    Discovery has not been completed. The following issues remain outstanding:

    1. Plaintiff and JTM are attempting to agree a date for the deposition of JTM’s

          30(b)(6) representative and Plaintiff. JTM has advised that it will not be

          possible to depose its representative until December 2019.

    2. Plaintiff believes that it has        outstanding discovery disputes with JTM

          concerning information relevant to the size and membership of the putative

          class (and thus the issue of ascertainability of the class). JTM disagrees

    3. Plaintiff issued a document subpoena to BEAM 4D Enterprises, which

          maintains the web-based collection software used by JTM. Plaintiff has a

          dispute with BEAM regarding its ability to produce certain documents

          requested concerning the class claim.

    4. In the event that Plaintiff’s motion for alternative service is granted, and

          Weinberg Mediation Group answers the complaint, discovery will be required

          as to Weinberg Mediation Group, and Weinberg Mediation Group will

          presumably wish to conduct discovery on Plaintiff.


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       5. Plaintiff believes there is a dispute with JTM concerning Plaintiff’s responses

             to requests for admissions. JTM disagrees.

       II.      PENDING MOTIONS

       Plaintiff’s Motion for Alternative Service on Weinberg Mediation Services (ECF 34)

is pending.

      III.      DISPOSITIVE PRE-TRIAL MOTIONS

       Plaintiff intends to file a motion for partial summary judgment on liability.

Although not a dispositive motion, Plaintiff notes here that she intends to file a motion

for class certification when practicable.

       JTM intends to file a motion for summary judgment.

       IV.      TRIAL

       The case is to be a jury trial with an anticipated length of 3 days.

        V.      SETTLEMENT NEGOTIATIONS

       Plaintiff and JTM have not met for settlement negotiations. The parties are

fundamentally opposed on issues of liability and whether a class can properly be certified,

and request a referral to a federal magistrate judge (see below).

       VI.      REFERRAL TO MAGISTRATE JUDGE FOR MEDIATION

       The parties agree to a referral to a Federal Magistrate Judge for mediation after

the resolution of any dispositive pretrial motion.

      VII.      CONSENT TO PROCEEDING BEFORE A MAGISTRATE JUDGE

       All parties do not consent.

    VIII.       OTHER MATTERS

       In light of the discovery issues described above, and the state of settlement



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negotiations, Plaintiff and JTM (the only parties presently participating in the case)

request that the discovery deadline be extended to February 10, 2019 and the deadline for

Notice of Intent to File a Pretrial Dispositive Motion be extended to February 17, 2019.


                                         Respectfully submitted,

      Dated: October 11, 2019

                                         By:    /s/ Emanwel J. Turnbull
                                                Emanwel J. Turnbull
                                                Fed. Bar No. 19674
                                                The Holland Law Firm, P.C.
                                                914 Bay Ridge Rd. Ste 230
                                                Annapolis, MD 21403
                                                Telephone: (410) 280-6133
                                                Facsimile: (410) 280-8650
                                                eturnbull@hollandlawfirm.com

                                                Counsel for Plaintiff

                                         By:    /s Brendan H. Little
                                                Brendan H. Little (Pro Hac Vice)
                                                Lippes Mathias Wexler Friedman LLP
                                                50 Fountain Plaza, Suite 1700
                                                Buffalo, NY 14202
                                                T: 716-853-5100
                                                F: 716-853-5199
                                                blittle@lippes.com

                                                Attorneys for Defendant
                                                JTM Capital Management, LLC




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                               CERTIFICATE OF SERVICE


I hereby certify that on October 11, 2019, I served the foregoing on counsel of record for
each defendant via ECF, and by first class mail postage pre-paid on:

                    Weinberg Mediation Group, LLC
                    Resident Agent: Jerry Verhagen
                    3380 Sheridan Dr. Suite 133
                    Amherst, NY 14266

                                                _____/s/Emanwel J. Turnbull____
                                                EMANWEL J. TURNBULL




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